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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TAMARA JEAN FARRELL,                  )
an individual,                        )
                                      )              CASE NO.:
            Plaintiff,                )
vs.                                   )
                                      )
CRS CENTER TIC 1 LLC,                 )
a Delaware Limited Liability Company, )
                                      )
            Defendant.                )
____________________________________)

                                   COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this Complaint and sues CRS CENTER TIC 1 LLC, a Delaware

Limited Liability Company, for injunctive relief, attorney’s fees and costs pursuant

to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES ACT” or

“ADA”) and allege:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




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referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as

“MS. FARRELL”), is a resident of Henry County, Georgia.

      4.      MS. FARRELL is disabled and suffers from Congenital Spastic

Cerebral Palsy Diplegia.     She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MS. FARRELL is substantially impaired in

several major life activities, including walking.

      6.      Defendant CRS CENTER TIC 1 LLC, a Delaware Limited Liability

Company, (hereinafter referred to as “DEFENDANT”), is registered to do business

in the State of Georgia. Upon information and belief, DEFENDANT is the owner

and/or operator of the real property and improvements which are the subject of this

action, to wit: the Property, known as “Crossroads South Shopping Center”,

located at 8029 Tara Blvd, Jonesboro, GA 30236.



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      7.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Clayton County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.      The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.     MS. FARRELL has visited the Property and attempted to utilize the

goods and services offered at the Property.

      11.     While at the Property, MS. FARRELL experienced serious difficulty

accessing the goods and utilizing the services therein due to the architectural

barriers discussed herein.

      12.     MS. FARRELL continues to desire to visit the Property, but fears that

she will continue to experience serious difficulty due to the barriers discussed

herein, which still exist.

      13.     MS. FARRELL plans to and will visit the property in the near future

to utilize the goods and services offered thereon. However, but for the barriers to

access located at the Defendant’s Property, Plaintiff would visit more often.

      14.     Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.


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§ 36.304 et. seq. and are discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following architectural barriers

which hindered Plaintiff’s access throughout the Defendant’s Property:

                   A.    Plaintiff encountered inaccessible parking in front of

            Rainbow Clothing Store, Shoe Show and other areas throughout the

            Property due to slopes in excess of 1:48 in the parking spaces

            designated for disabled use and their corresponding access aisles.

            This condition made it difficult for Plaintiff to transfer into and out of

            a vehicle and increased her risk of a fall.

                   B.    Plaintiff encountered inaccessible parking in front of

            Planet Fitness due to disabled use parking spaces which fail to provide

            adjacent access aisles, improperly sized access aisles and access aisles

            that are obstructed by billboards/advertisements. These conditions

            made it difficult for Plaintiff to identify and use the designated

            accessible parking areas.

                   C.    Plaintiff encountered inaccessible routes from the

            disabled use parking spaces to the entrance of the Rainbow clothing

            store due excessive slopes located along both available paths of travel

            connecting the nearby curb ramps to the Rainbow store entrance. This

            condition made it nearly impossible for Plaintiff to gain access to this

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             store without assistance.

                    D.     Plaintiff encountered inaccessible sidewalks throughout

             the Property due to excessive running slopes and changes in elevation.

             Specifically, the sections of sidewalk running between Kroger and

             China Restaurant, between Shoe Show and Badcock Home

             Furnishings, and between Binta Hair Braiding and RC’s Waxing are

             excessively sloped and lack handrails. These conditions made it

             difficult for Plaintiff to maneuver over this route to access the

             businesses and increased her risk of a fall.

                    E.     Plaintiff encountered inaccessible curb ramps in front of

             Binta Hair Braiding and Shoe Show due to excessive slopes. This

             condition increased Plaintiff’s chances of falling and required that she

             use extra caution maneuvering over these ramps.

      15.    Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      16.    Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      17.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

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undue burden on Defendant.

      18.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against CRS CENTER TIC

1 LLC, and requests the following injunctive and declaratory relief:

             A.     That the Court declares that the Property owned and

                    operated by DEFENDANT is in violation of the ADA;

             B.     That the Court enter an Order directing DEFENDANT to

                    alter its property to make it accessible and useable by

                    individuals with disabilities to the full extent required by

                    Title III of the ADA;

             C.     That the Court enter an Order directing DEFENDANT to

                    evaluate and neutralize its policies and procedures

                    towards persons with disabilities for such reasonable time

                    so as to allow DEFENDANT to undertake and complete

                    corrective procedures;

             D.     That the Court award reasonable attorney’s fees, costs

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         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

   E.    That the Court award such other and further relief as it

         deems necessary, just and proper.


                      Respectfully Submitted,

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                      By: /s/ John A. Moore        .




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